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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF NEW YORK

 YIATIN CHU; CHINESE AMERICAN                               No. _____________________
 CITIZENS ALLIANCE OF GREATER
 NEW YORK; INCLUSIVE EDUCATION
 ADVOCACY GROUP; and HIGHER WITH
 OUR PARENT ENGAGEMENT,

                                Plaintiffs,

                        v.

 BETTY A. ROSA, in her official capacity as
 Commissioner of Education for the State of
 New York,

                                Defendant.


                               DECLARATION OF YIATIN CHU


       I, Yiatin Chu, declare as follows:

       1.      The facts set forth in this declaration are based on my knowledge and, if called as

a witness, I can competently testify to truthfulness under oath. As to those matters that reflect a

matter of opinion, they reflect my personal opinion and judgment upon the matter.

       2.      I am an Asian-American resident of New York State.

       3.      I am a member of the Chinese American Citizens Alliance of Greater New York.

       4.      My child, N.C., is Asian American and a resident of New York State.

       5.      N.C. is enrolled in 7th grade, is in good academic standing, has an overall GPA

above 80, and a GPA above 80 in math and science.




                                                  1                                    Exhibit A
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       6.      N. . i interested in applying for admission lo U1e Science and Technology Entry

Program ( T P) session at NYU (New York University for summer 2024.

       7.      Because N. . is Asian American, she must satisfy a famil y income threshold to be

eligible to apply for this program.

       8.      It is my understanding that ifN . . was not Asian American, but instead was

black, Hispanic, ative American, or Alaskan Native, Ulen N. . would be eligible to apply

regardless ofour famil 's income.

       9.      I belie e U1ot the TEP student eligibility requirements discriminate against

 sian-American applicnnts like        . because of her race.

                                                •••
       I declare under penalty of perjury iliat the foregoing is true and correct. Executed on this

11 ili day of January, - 024, at ew York, New York.




                                                 2

                                                                                          Exhibit A
